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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

      UNITED STATES, et al.,

                          Plaintiffs,

           vs.                                                No: 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                          Defendant.


                              GOOGLE LLC’S NOTICE OF FILING

          Pursuant to the Court’s August 6, 2024, Order, Dkt. No. 1128, Defendant Google LLC

  (“Google”) files following exhibits1 in either REDACTED OR UNREDACTED form:

          EXHIBITS 1-5, 7, 8, 10, 11, 13, 14, 25, 28, 32, 33, 35, 38, 44, 46, 51, 62, 66, 68,

          70, 72, 74, 78, 82, 88, 90, 92, 93, 95, 97, 100, 104-07, 110, 112, 115-18, 127, 131,

          132, 137, 141, 145, 150-53, 157-59, 161




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   These exhibits were subject to Google’s motions to seal relating to summary judgment and
  Daubert motions. Dkt. Nos. 605, 651, 712.

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   Dated: August 20, 2024               Respectfully submitted,


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